        Case 2:17-cr-20595-TGB-EAS ECF No. 337, PageID.5685 Filed 02/28/24 Page 1 of 7
AO 245D (Rev. )   Judgment in a Criminal Case for Revocations
                        Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                         &BTUFSO%JTUSJDUPG.JDIJHBO

         UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                    v.                                                 (For Revocation of Supervised Release)

            Yousef Mohammed Ramadan
                                                                       Case No. 17-20595
                                                                       USM No. 55876-039
                                                                        Andrew Densemo; Amanda Bashi
                                                                                               Defendant’s Attorney
THE DEFENDANT:
G admitted guilt to violation of condition(s)                                         of the term of supervision.
✔ was found in violation of condition(s) FRXQW V
G                                                           1,2,3                 after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number               Nature of Violation                                                                          Violation Ended
 1                       Violation of Standard Condition No. 10: “YOU MUST NOT OWN, POSSESS, OR HAVE                             10/26/2023
                         ACCESS TO A FIREARM, AMMUNITION, DESTRUCTIVE DEVICE, OR DANGEROUS
                         WEAPON (I.E. ANYTHING THAT WAS DESIGNED, OR MODIFIED FOR, THE
                         SPECIFIC PURPOSE OF CAUSING BODILY INJURY OR DEATH TO ANOTHER
                         PERSON SUCH AS NUNCHAKUS OR TASERS).”


 2                       Violation of Standard Condition No. 8: “YOU MUST NOT COMMUNICATE OR                                      8/29/2023
                         INTERACT WITH SOMEONE YOU KNOW IS ENGAGED IN CRIMINAL ACTIVITY. IF
                         YOU KNOW SOMEONE HAS BEEN CONVICTED OF A FELONY, YOU MUST NOT
                         KNOWINGLY COMMUNICATE OR INTERACT WITH THAT PERSON WITHOUT
                         FIRST GETTING THE PERMISSION OF THE PROBATION OFFICER.”


 3                       Violation of Special Condition No. 1: “YOU MUST SUBMIT YOUR PERSON,
                         RESIDENCE, OFFICE, VEHICLE(S), PAPERS, BUSINESS OR PLACE OF
                         EMPLOYMENT, AND ANY PROPERTY UNDER HIS CONTROL TO A SEARCH. SUCH
                         A SEARCH SHALL BE CONDUCTED BY A UNITED STATES PROBATION OFFICER
                         AT A REASONABLE TIME AND IN A REASONABLE MANNER BASED UPON A
                         REASONABLE SUSPICION OF CONTRABAND OR EVIDENCE OF A VIOLATION OF A

       The defendant is sentenced as provided in pages 2 through           7      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has not violated condition(s)                             and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 6180                     2/27/2024
                                                                                          Date of Imposition of Judgment
Defendant’s Year of Birth:            1988
                                                                        s/Terrence G. Berg
City and State of Defendant’s Residence:                                                        Signature of Judge
Belleville, MI
                                                                        Terrence G. Berg, U.S. District Judge
                                                                                             Name and Title of Judge

                                                                        2/28/2024
                                                                                                       Date
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AO 245D (Rev. )   Judgment in a Criminal Case for Revocations
                       Sheet 1A

                                                                                      Judgment—Page   2    of      7
DEFENDANT: Yousef Mohammed Ramadan
CASE NUMBER: 17-20595

                                                      ADDITIONAL VIOLATIONS

                                                                                                          Violation
Violation Number               Nature of Violation                                                        Concluded
3 (cont)                       CONDITION OF RELEASE. FAILURE TO SUBMIT TO SUCH A SEARCH MAY BE            11/17/2023
                               GROUNDS FOR REVOCATION; YOU MUST WARN ANY RESIDENTS THAT THE
                               PREMISES MAY BE SUBJECT TO SEARCHES.”
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AO 245D (Rev. )    Judgment in a Criminal Case for Revocations
                        Sheet 2— Imprisonment
                                                                                                  Judgment — Page   3       of   7
DEFENDANT: Yousef Mohammed Ramadan
CASE NUMBER: 17-20595

                                                               IMPRISONMENT

            The defendant is hereby committed to the custody of the )HGHUDOBureau of Prisons to be imprisoned for a total
term of :
2 months; the Court waives the cost of imprisonment.




     G The court makes the following recommendations to the Bureau of Prisons:




     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
         G     at                                 G a.m.         G p.m.       on                                        .
         G     as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         G     before 2 p.m. on                                           .
         G     as notified by the United States Marshal.
         G     as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                        to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                          By
                                                                                            DEPUTY UNITED STATES MARSHAL
       Case 2:17-cr-20595-TGB-EAS ECF No. 337, PageID.5688 Filed 02/28/24 Page 4 of 7
AO 245D (Rev. )   Judgment in a Criminal Case for Revocations
                       Sheet 3 — Supervised Release
                                                                                              Judgment—Page     4     of        7
DEFENDANT: Yousef Mohammed Ramadan
CASE NUMBER: 17-20595
                                  SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :
 34 months; The Court waives the costs of supervision.




                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
.   You must not unlawfully possess a controlled substance.
.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                   substance abuse. (check if applicable)
.    *<RXPXVWPDNHUHVWLWXWLRQLQDFFRUGDQFHZLWK86&DQG$RUDQ\RWKHUVWDWXWHDXWKRUL]LQJDVHQWHQFHRI
         UHVWLWXWLRQ FKHFNLIDSSOLFDEOH
.    G You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (86&, et seq.)
         as directed by the probation officer, theBureau of Prisons, or any state sex offender registration agency in WKHORFDWLRQ
         whHUH you reside, work, are a student, or wereconvicted of a qualifying offense.(check if applicable)
.    G You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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AO 245D (Rev. )   Judgment in a Criminal Case for Revocations
                       Sheet 3A — Supervised Release
                                                                                                Judgment—Page      5     of        7
DEFENDANT: Yousef Mohammed Ramadan
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                                         STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
      your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
      different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
      and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
      from the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
      officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
      or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
      probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
      been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
      permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
      that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
      nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
      may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
      contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                          Date
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   AO 245D (Rev. )   Judgment in a Criminal Case for Revocations
                          Sheet 3D — Supervised Release
                                                                                                    Judgment—Page    6     of       7
   DEFENDANT: Yousef Mohammed Ramadan
   CASE NUMBER: 17-20595

                                              SPECIAL CONDITIONS OF SUPERVISION

7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQWKHKRPHFRQILQHPHQWSURJUDPIRUDSHULRGRIBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
7KHFRVWRIHOHFWURQLFPRQLWRULQJLVZDLYHG

7KHGHIHQGDQWVKDOOPDNHPRQWKO\SD\PHQWVRQDQ\UHPDLQLQJEDODQFHRIWKH
UHVWLWXWLRQILQHVSHFLDODVVHVVHPHQW
DWDUDWHDQGVFKHGXOHUHFRPPHQGHGE\WKH3UREDWLRQ'HSDUWPHQWDQGDSSURYHGE\WKH&RXUW

    7KHGHIHQGDQWVKDOOQRWLQFXUDQ\QHZFUHGLWFKDUJHVRURSHQDGGLWLRQDOOLQHVRIFUHGLWZLWKRXWWKHDSSURYDORIWKHSUREDWLRQRIILFHU,
    unless the defendant is in compliance with the payment schedule

7KHGHIHQGDQWVKDOOSURYLGHWKHSUREDWLRQRIILFHUDFFHVVWRDQ\UHTXHVWHGILQDQFLDOLQIRUPDWLRQ

7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDSURJUDPDSSURYHGE\WKH3UREDWLRQ'HSDUWPHQWIRUPHQWDOKHDOWKFRXQVHOLQJ
,IQHFHVVDU\

7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDSURJUDPDSSURYHGE\WKH3UREDWLRQ'HSDUWPHQWIRUVXEVWDQFHDEXVHZKLFKSURJUDPPD\
LQFOXGHWHVWLQJWRGHWHUPLQHLIWKHGHIHQGDQWKDVUHYHUWHGWRWKHXVHRIGUXJVRUDOFRKRO
,IQHFHVVDU\


$GGLWLRQDO7HUPVRI6SHFLDO&RQGLWLRQV

1. You must provide the probation officer with accurate information about all phone/ computer systems (hardware/software),
all passwords, and Internet Service Provider(s), that you have potential and/or reasonable access to and abide by all rules of
the U.S. Probation Department’s Phone/Computer Monitoring Program. The defendant shall only access a computer
approved by the U.S. Probation Department. The defendant shall consent to the probation officer conducting periodic
unannounced examinations of all computer systems, which may include computer monitoring software at your expense. For
the purpose of accounting for all phones, computers, hardware, software, and accessories; the defendant shall submit his/her
person, residence, computer and/or vehicle to a search conducted by the U.S. Probation Department at a reasonable time
and manner. You shall inform any other residents that the premises and your computer may be subject to a search pursuant
to this condition. The defendant shall provide the probation officer with access to any requested financial information
including billing records (telephone, cable, internet, satellite, etc.). Due to technical issues with monitoring, you must not own
or possess any Apple devices.

2. You must not use or possess any device which allows Internet access other than authorized by the probation officer. This
includes, but is not limited to phones, computers, PDAs, electronic gaming consoles, WebTV solutions, and other internet
applications.

3. You shall not seek to possess, view, access, or otherwise use material that relates to any designated foreign terrorist
organization (including, but not limited to, the Islamic State, ISIS, and Al Qaeda), any individuals/entities designated by the
State Department under Executive Order 13224, or any explosives, bombs, or chemical/biological agents. You shall not
communicate or otherwise interact [i.e., in person; through a third party; by telephone or mail, electronic or otherwise; or
through social media websites and applications] with any of these organizations, entities or individuals. The current list of
designated foreign terrorist organizations can be found here: https://www.state.gov/foreign-terrorist-organizations/. The
current list of individuals/entities designated by the State Department under Executive Order 13224 can be found here:
https://www.state.gov/executive-order-13224/#state
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                        Sheet 4C — Probation
                                                                                       Judgment—Page    7    of      7
 DEFENDANT: Yousef Mohammed Ramadan
 CASE NUMBER: 17-20595

                               ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

4. You must submit your person, residence, office, vehicle(s), papers, business or place of employment, and any property
under his control to a search. Such a search shall be conducted by a United States Probation Officer at a reasonable time
and in a reasonable manner based upon a reasonable suspicion of contraband or evidence of a violation of a condition of
release. Failure to submit to such a search may be grounds for revocation; you must warn any residents that the premises
may be subject to searches.

5. You must not own, possess or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
such as nunchakus or tasers). This includes any BB/Pellet guns, including nonfunctional or facsimile weapons.
